
Appeal from a decision of the Unemployment Insurance Appeal Board, filed February 4, 2013, which ruled that claimant *1429was disqualified from receiving unemployment insurance benefits because he voluntarily left his employment without good cause.
Claimant worked as a security officer for the employer for one day and then informed the employer that he was leaving his position due to financial problems. The Unemployment Insurance Appeal Board denied claimant’s application for unemployment insurance benefits upon the ground that he voluntarily left his employment without good cause. Claimant appeals.
We affirm. “ ‘Whether a claimant has voluntarily left employment without good cause is a question of fact for Board resolution, which must be affirmed if supported by substantial evidence’ ” (Matter of Sims [Commissioner of Labor], 17 AD3d 905, 906 [2005], quoting Matter of Rego [Hartnett], 165 AD2d 942, 942-943 [1990]; see Matter of Ogaard [Commissioner of Labor], 78 AD3d 1338, 1338-1339 [2010]). Here, claimant testified that he left his employment after one day due to the fact that he had not been fingerprinted by the employer, as well as concerns that he had not renewed a required training certificate and could not afford the cost of renewal, despite being aware of the certification requirement before accepting the position. Claimant admittedly did not inform the employer of his specific concerns when he said he was leaving. Rather, he merely informed the employer that he was leaving due to personal financial problems. Inasmuch as claimant failed to provide the employer with an opportunity to address his concerns, he did not take reasonable steps to protect his employment. Accordingly, the Board’s determination that claimant left his employment without good cause is supported by substantial evidence (see Matter of Gagraj [Highroad Press, LLC — Commissioner of Labor], 62 AD3d 1135, 1136 [2009]; Matter of Crawford [Commissioner of Labor], 54 AD3d 1120, 1121 [2008]).
Peters, P.J., Lahtinen, Stein and Spain, JJ., concur. Ordered that the decision is affirmed, without costs.
